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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

  JENNIFER LE FEUVRE,

           Plaintiff,                                             Case No.: 1:24-cv-10818

   v.                                                             Judge Jeffrey I. Cummings

   THE PARTNERSHIPS AND UNINCORPORATED                            Magistrate Judge Beth W. Jantz
   ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

           Defendants.

                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                NO.                                     DEFENDANT
                 48                                    MAZHALAI-US
                 46                                        GOMing
                 49                              deals of today prime Syugze
                 26                                         Ladily
                 45                                       YTWJHTC
                 32                                          Fabal
                 38                                   💗💗Religeuses💗💗
                  8                                        69lgmtop
                 36                                     Dolloress Shop
                 22                                     vivanadaoutfitt
                 42                                 Miriam Design Studio
                  2                                     TIANmengyue
                  5                            Wocachi (7 ~ 14 days delivery)
                 31                           Yun Chen Clothing 7-15 delivery
                 35                                    BiaoShiBaiHuo
                  1                          jinjiums ( Order arrive 10-14 days)
                  9                             Mikey Store(5-14D Delivery)
                 11                                        Gallant_E
                 23                                     LOVESHOOT
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DATED: November 26, 2024                   Respectfully submitted,

                                           /s/ Keith A. Vogt
                                           Keith A. Vogt (Bar No. 6207971)
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                                           Chicago, Illinois 60604
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                                           E-mail: keith@vogtip.com

                                           ATTORNEY FOR PLAINTIFF
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on November 26, 2024 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
